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12   (Additional counsel listed on signature page)
13                                 UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15                                            SAN FRANCISCO
16
     PANGEA LEGAL SERVICES; DOLORES                        Case No. 3:20-cv-07721
17   STREET COMMUNITY SERVICES, INC.;
     CATHOLIC LEGAL IMMIGRATION NET-
18   WORK, INC.; and CAPITAL AREA IMMI-
     GRANTS’ RIGHTS COALITION,
19
                    Plaintiffs,                            DECLARATION OF NAOMI A. IGRA
20
            v.
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     U.S. DEPARTMENT OF HOMELAND
22   SECURITY;
     CHAD F. WOLF, under the title of Acting
23   Secretary of Homeland Security;
     KENNETH T. CUCCINELLI, under the title of
24   Senior Official Performing the Duties of the
     Deputy Secretary for the Department of
25   Homeland Security;
     U.S. CITIZENSHIP AND IMMIGRATION
26   SERVICES;
     U.S. IMMIGRATION AND CUSTOMS
27   ENFORCEMENT;

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                          DECLARATION OF NAOMI A. IGRA – CASE NO. 3:20-CV-07721
        Case 3:20-cv-07721-SI        Document 21-9       Filed 11/03/20   Page 2 of 3



     TONY H. PHAM, under the title of Senior
 1   Official Performing the Duties of the Director of
     U.S. Immigration and Customs Enforcement;
 2   U.S. CUSTOMS AND BORDER PROTECTION;
     MARK A. MORGAN, under the title of Senior
 3   Official Performing the Duties of the
     Commissioner of U.S. Customs and Border
 4   Protection;
     U.S. DEPARTMENT OF JUSTICE;
 5   WILLIAM P. BARR, under the title of U.S.
     Attorney General;
 6   EXECUTIVE OFFICE FOR IMMIGRATION
     REVIEW; and
 7   JAMES MCHENRY, under the title of Director
     of the Executive Office for Immigration Review,
 8
                   Defendants.
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                         DECLARATION OF NAOMI A. IGRA – CASE NO. 3:20-CV-07721
         Case 3:20-cv-07721-SI        Document 21-9         Filed 11/03/20     Page 3 of 3




 1   I, Naomi A. Igra, declare as follows:
 2          1.      I am an attorney licensed to practice law in all the courts of the State of California. I

 3   am an associate at the law firm of Sidley Austin LLP, counsel of record for Plaintiffs Pangea Legal

 4   Services (“Pangea”), Dolores Street Community Services, Inc. (“DSCS”), Catholic Legal Immigration

 5   Network, Inc. (“CLINIC”), and Capital Area Immigrants’ Rights Coalition (“CAIR Coalition”) in this

 6   case. This declaration is submitted in support of Plaintiffs’ Motion for Temporary Restraining Order,

 7   Preliminary Injunction, and Stay. The facts set forth in this declaration are within my personal

 8   knowledge. If called as a witness, I could and would competently testify as follows.

 9          2.      Attached hereto as Exhibit E is a true and correct copy of a January 21, 2020 comment

10   letter submitted to the Department of Justice (“DOJ”), Executive Office for Immigration Review

11   (“EOIR”), Department of Homeland Security (“DHS”), and U.S. Citizenship and Immigration Ser-

12   vices by the City of New York in response to the December 19, 2019 proposed rule, EOIR ID No.

13   EOIR-2019-0005-0534, and available at https://www.regulations.gov/document?D=EOIR-2019-

14   0005-0534 (“N.Y.C. Comment Letter”).

15          3.      Attached hereto as Exhibit F is a true and correct copy of the proposed rule, Proce-

16   dures for Asylum and Bars to Asylum Eligibility, 84 Fed. Reg. 69640, dated December 19, 2019.

17          4.      Attached hereto as Exhibit G is a true and correct copy of the final rule, Procedures

18   for Asylum and Bars to Asylum Eligibility, 85 Fed. Reg. 67202, dated October 21, 2020.

19          I declare under penalty of perjury under the laws of the United States that the foregoing is true

20   and correct. Executed on this 3rd day of November, 2020, at San Francisco, California.

21                                                        /s/ Naomi A. Igra
22                                                        Naomi A. Igra

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                          DECLARATION OF NAOMI A. IGRA – CASE NO. 3:20-CV-07721
